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Adriana Cara SBN # 221915
adriana.cara t,`lsherbro les.com
FISHERBR ES LL

1902 Wright Place, Sulte 200
Carlsbad, CA 92008
adriana.cara@f`lSherbrovles.com
Telephc_)ne: 760) 918-5635
Facs1mlle: ( 60) 918-5638

MINKA LIGHTING, INC.
Plaintiff,

V.

VAXCEL INTERNATIONAL CO.,
LTD.,

Defendant.

 

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Attorney for Defendant, Vaxcel Intemational Co., Ltd.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION

Case No. 5:18-cv-947

MEMORANDUM OF LAW
IN SUPPORT OF
DEFENDANT’S l§gb)<§)
MOTION TO DIS IS
COMPLAINT

Honorable George H. Wu
Date: August 2, 2018
Time: 10:00 a.m.

 

 

MEMORANDUM IN SUPPORT OF DEFENDANT’ MOTION TO DISMISS COMPLAINT

 

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I. Conference of Counsel

This Motion is made following the conference of counsel pursuant to

L.R. 7-3 Which took place on June 26, 2018.
II. Introduction

Minka Lighting Inc (“Minka”), filed this Declaratory Judgment Action
requesting a Declaration of Non-infringement of U.S. Patent No. 9,551,481 (the
“Patent”) in the U.S. District Court for the Central District of California (the
“DJ action”), based entirely upon vague and unsupported legal conclusions and
an assertion that there is at least one unidentified claim that it does not infringe.
HoWever, pleading rules require factual specificity and a facially credible
request for relief. Minka’s DJ action fails to meet both requirements

Several months prior to Minka filing the Complaint for Declaratory
Judgment of Non-infringement (the “Complaint”), defendant, Vaxcel
International Co., Ltd. (“Vaxcel”) filed an action against Minka in the U.S.
District Court for the Northern District of Illinois (the “NDI action”) alleging
patent infringement by Minka of the same Patent. In the NDI action, Vaxcel
identified With particularity at least 2 of Minka’s products Which infringe the
Patent and the elements from those products Which correspond to the elements
of claim l of the Patent. With full knowledge of the NDI action and the
assertions therein, Minka nonetheless limited the Complaint to a single
assertion of non-infringement of the Patent by “a Minl<a lighting product”
Which “lacks one or more of the elements required by one or more claims of the
[] Patent.” It is impossible to ascertain from the Complaint Which of Minka’s
products is/are at issue and Which claims and which elements from those
claim(s) Minka believes are at issue. Additionally, even if the pleadings are
taken as true, they do not sufficiently plead a case for non-infringement as they

do not assert non-infringement of every claim of the Patent.

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MEMORANDUM IN SUPPORT OF DEFENDANT’ MOTION TO DISMISS COMPLAINT

 

 

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Given the absence of facts, the merely conclusory statements and the
failure to state a claim upon which relief can properly be granted, Vaxcel
respectfully requests that this Court dismiss Minka’s Complaint with prejudice
pursuant to Fed. R. Civ. P. 12(b)(6) and award any relief to Vaxcel as the Court
deems just and fit.

III. Legal Standard

Fed. R. Civ. P. 8(a)(2) requires a complaint to include “a short and plain
statement of the claim showing that the pleader is entitled to relief.” A
complaint should be dismissed "when the facts asserted by the claimant do not
entitle him to a legal remedy." Lz'na’say v. Unitea’ States, 295 F.3d 1252, 1257
(Fed. Cir. 2002).

Fed. R. Civ. P 12(b)(6) requires that a complaint be dismissed if it “fail[s]
to state a claim upon which relief can be granted.” F or a claim to properly be
stated, the complaint "must contain sufficient factual matter, accepted as true, to
state a claim to relief that is plausible on its face." Ashcroft v. Iqbal, 556 U.S.
662, 678 (2009). However, bald legal conclusions do not receive the same
presumption of truth as factual allegations Clegg v. Cult Awareness Network,
18 F.3d 752, 754-55 (9th Cir. 1994). A complaint will not survive a motion to
dismiss for failure to state a claim if it does not "contain . . . sufficient factual
matter . . . to 'state a claim to relief that is plausible on its face."' Ashcroft v.
Iqbal, 556 U.S. 662, 678, (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
544, 570 (2007)).

IV. Arguments

A. Insufficient Pleading for Non-Infringement

A patent is infringed if one or more claims from that patent is infringed
The reverse, however, is not true; non-infringement of a patent requires non-

infringement of every claim of that patent. Minka’s Complaint, aside from its

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other deficiencies (e.g. the complete lack of factual assertions), does not assert
that Minka’s products do not infringe every claim of the Patent. Instead,
Minka’s Complaint includes a single cause of action in which Minka alleges
that it does not infringe the Patent because “the Accused Product lacks one or
more of the elements required by one or more claims of the ’481 Patent.” See
Complaint at E 12. Minka then, inter alia, prays for “a final

judgment. . .declaring that Minka has not infringed and is not infringing any
valid claims of the '481 Patent”.

It is unclear if Minka is requesting that this Court Declare that Minka
does not infringe “one or more claims” of the Patent (as plead) or if Minka’s
pleadings simply do not support its Prayer for Relief. In either case, Minka’s
complaint fails to state a claim upon which relief can properly be granted.

In the first instance, a declaration that Minka does not infringe “one or
more claims” of the Patent would be a meaningless declaration since Minka
infringes at least claim 1 of the Patent (as specified in the NDI action). This
fact would not be negated by the requested declaration. Thus, Minka’s
requested declaration would be ambiguous and improper.

If Minka is requesting a Declaration that Minka does not infringe every
claim of the patent then Minka’s pleadings do not support such a declaration.
Minka makes no assertion that any of the claims of the Patent are invalid. Thus,
the prayer for relief, which refers to “valid claims”, must apply to every claim
of the Patent. However, Minka has not alleged that it does not infringe every
claim of the patent. Instead, Minka merely presents a conclusion that it does
not infringe “one or more” claims of the Patent. Thus, even if the conclusion
Were taken as true, which there is no reason to do so, the assertion that “one or
more” claims of the patent are not infringed does not support a declaration that

no claim is infringed.

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Considering the foregoing, Minka’s Complaint fails to state a claim upon
which relief can properly be granted as the only relief requested is either not
supported by the pleadings or would be ambiguous. Minka’s Complaint is
invalid on its face and should be dismissed

B. No Facts Plead

A complaint that fails to provide sufficient factual support for the
requested relief must be dismissed Iqbal at 678. Minka not only failed to
provide sufficient factual support, Minka has failed to plead even a single fact
in support of its requested relief. Minka has not identified a product at issue,
has not identified a specific element from any claim which it allegedly does not
infringe and has not identified a claim which it allegedly does not infringe. As
such, Minka’s Complaint should be dismissed with prejudice.

Instead of facts, Minka sets forth a single conclusory assertion that a
Minka lighting product “lacks one or more of the elements required by one or
more claims of the [] Patent.” Unlike with factual assertions, the Court is not
required to accept Minka’s conclusory statement as true for purposes of this
Motion. Thus, Minka’s Complaint should be dismissed with prejudice for
failing to state a claim upon which relief can be granted

V. Conclusion

Vaxcel respectfully requests that the Court dismiss Minka’s Complaint
under Fed. R. Civ. P. 12(b)(6) with prejudice and award Vaxcel any additional
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relief as the Court deems just and fit.

Respectfully submitted,

FISHERBROYLES LLP

/s/Adriana Cara
Adriana Cara
Email:
adriana.cara@fisherbrovles.com

Attorneyfor Defena’ant

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